     Case 1:07-cv-01075-LG-RHW           Document 48          Filed 03/06/09   Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             SOUTHERN DIVISION


JOHN A. ORTLAND                                                                   PLAINTIFF

V.                                            CIVIL ACTION NO.1:07-CV-1075 LG RHW

HARRISON COUNTY MISSISSIPPI, ET AL.                                            DEFENDANTS


                      MOTION FOR SUMMARY JUDGMENT BY
                      DEFENDANT HEALTH ASSURANCE LLC



       Pursuant to F.R.C.P. 56(c), Defendant Health Assurance LLC files this Motion for

Summary Judgment, and in support of the motion states:

                                               1.

       Pro se Plaintiff John A. Ortland filed a Complaint [#1] a First Amended Complaint

[#3] and a Second Amended Complaint [#15] and makes federal law claims under 42 U.S.C.

§ 1983, 42 U.S.C. § 1985 and 42 U.S.C. § 1986 and state-law claims for assault, battery, civil

conspiracy and intentional inflection of emotional distress

                                               2.

       On February 2, 2009, the Court dismissed the state law claim. [#32].

                                               3.

       Defendant Health Assurance LLC moves for summary judgment because the

undisputed material facts show it is entitled to a judgment of dismissal on the merits as a

matter of law.
    Case 1:07-cv-01075-LG-RHW            Document 48         Filed 03/06/09     Page 2 of 3




                                              4.

       In support of this motion, defendants rely upon the following:

       (a)     Plaintiff’s Second Amended Complaint [#15];

       (b)     Pat Olsen’s Affidavit. (Exhibit “I”)

                                              5.

       Defendant Health Assurance LLC will file a memorandum of authorities in support of

this motion.

       Based upon the foregoing and for the legal reasons set forth in the memorandum of

authorities, Defendant Health Assurance LLC asks the Court to dismiss with prejudice all

claims made against it.

       THIS the 6th day of March, 2009.

                                                      Respectfully submitted,

                                                      HEALTH ASSURANCE LLC

                                                      /s/Robert H. Pedersen
                                                      Walter T. Johnson (MSB #8712)
                                                      Robert H. Pedersen (MSB #4084)

OF COUNSEL:

Walter T. Johnson
Robert H. Pedersen
WATKINS & EAGER PLLC
400 East Capitol Street, Suite 300
P. O. Box 650
Jackson, Mississippi 39205
Phone: (601) 965-1900
Fax:    (601) 965-1901
wjohnson@watkinseager.com
bpedersen@watkinseager.com

                                               2
    Case 1:07-cv-01075-LG-RHW           Document 48       Filed 03/06/09     Page 3 of 3




                              CERTIFICATE OF SERVICE

        I, Robert H. Pedersen, as counsel for Defendant Health Assurance LLC, hereby certify
that I have this day electronically filed the foregoing with the Clerk of the Court using the
ECF system which sent notification of such filing to the following:

       JIM DAVIS, PA
       P. O. Box 1521
       Gulfport, MS 39502
       ian.brendel@yahoo.com
              Attorney for Defendant Rick Gaston

       Cyril T. Faneca
       DUKES, DUKES, KEATING & FANECA
       P.O. Drawer W
       Gulfport, MS 39502-0680
       Cy@ddkf.com
              Attorneys for Defendants David Brisolara, George Payne, Captain Phil Taylor
              and Diane Gaston-Riley

       Karen Jobe Young, Esq.
       Meadows Riley Law Firm
       Post Office Drawer 550
       Gulfport, Mississippi 39502
       kyoung@datasync.com
              Attorney for Defendant Harrison County, Mississippi

and I hereby certify that I have mailed by United States Postal Service a true and correct
copy of the above and foregoing pleading to the following non-ECF participants:

              John A. Ortland
              c/o Mason Ulm Taylor
              10325 34th Avenue
              Gulfport, MS 39503

       THIS the 6th day of March, 2009.


                                                          /s/Robert H. Pedersen
                                                          Walter T. Johnson
                                                          Robert H. Pedersen


                                              3
